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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                                                                     ,,ffiffi%H,Hr"
                             EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                    No. 19 CR 97
        v.
                                                    Judge Andrea R. Wood
 SULTAN ISSA

                                PLEA AGREEMENT

       1.    This Plea Agreement between the United States Attorney for the
Northern District of Illinois, JOHN R. LAUSCH, JR., and defendant SULTAN ISSA,

and his attorney, DANIEL J. COLLINS, is made pursuant to Rule 11 of the Federal

Rules of Criminal Procedure. The parties to this Agreement have agreed upon the

following:

                                Charge in This Case

      2.     The information in this case charges defendant with wire fraud affecting

a financial institution, in violation of Title 18, United States Code, Section 1343.

       3.    Defendant has read the charge against him contained in the

information, and that charge has been fully explained to him by his attorney.

      4.     Defendant fully understands the nature and elements of the crime with

which he has been charged.
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                 Charee to Which Defendant Is Pleading Guiltv

      5.     By this Plea Agreement, defendant agrees to enter a voluntary plea of

guilty to the information, which charges defendant with wire fraud affecting a

financial institution, in violation of Title 18, United States Code, Section 1343.

                                    Factual Basis

      6.     Defendant will plead guilty because he is in fact guilty of the charge

contained in the information. In pleading guilty, defendant admits the following facts

and that those facts establish his guilt beyond a reasonable doubt:

                                     Background

      Individual A owned, controlled or otherwise held an ownership or beneficial

interest in a group ofrelated partnerships, corporations, and trusts for the benefit of

Individual A and his family, with offices in Chicago, Illinois (collectively, the

Individ.ual A Family Office). A majority of the assets owned or controlled by the

Individual A Family Office were housed at a single financial institution, hereafber

referred to as Bank A, the deposits of which were insured by the Federal Deposit

Insurance Corporation.

      At relevant times, defendant SULTAN ISSA was a certified public accountant

licensed in the State of Illinois and the Chief Financial Officer of the Individual A

Family Office. In that capacity, ISSA acted as Individual A's personal financial

advisor and was responsible for managing various financial and real estate
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transactions, developing tax planning strategies and preparing tax returns for

Ind.ivid.ual A and the Individual A Family Office.

      Pursuant to a power of attorney signed by Individual A, ISSA had the

authority to make internal transfers among certain Individual A Family Office

accounts at Bank A, subject to limitations. Under the power of attorney, ISSA was

also authoized to make external transfers of up to $100,000 from a limited number

of accounts, including accounts created to trade Initial Public Offerings (IPOs) on

Individual A's behalf, with any trading profits to be split between ISSA and

Individual A. These trading accounts included an account in the name of Hibiscus

Capital LE IPO LLC (the Hibiscus Capital account), which was established in

approximately 2010, and an account in the name of SR Trading LLC (the SR Trading

account), which was established in approximately 2013.

      ISSA also solicited investment funds from various individ.uals in his personal

capacity and represented to these individuals that he would and did invest their

money in legitimate investment opportunities, including securities, investment

funds, and real estate and business ventures, including Seriously Automotive Group

(Nbla Global Luxury Imports), a luxury car dealership in Burr Ridge, Illinois, owned

and controlled by ISSA.

                                The Fraud Scheme

      Beginning no later than 2010, and continuing through at least October 2017,

ISSA devised, intended to devise, and participated in a scheme to defraud clients and
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financial institutions, and to obtain money and property from those clients and

financial institutions by means of materially false and fraudulent pretenses,

representations, and promises, and by concealment of material facts, which scheme

affected a financial institution.

      Individual A and the Individual A Familv Office

      ISSA, without Individual A's knowledge or consent, forged Individual{s

signature on powers of attorney and authorizations purporting to grant him authority

to act as attorney-in-fact with respect to Individual A Family Office entities, assets,

and accounts across multiple financial institutions. Pursuant to these forged
authorizations, beginning no later than 2010 and continuing through at least October

2Ol7,ISSA transferred tens of millions of dollars in funds and other financial assets

belonging to Individual A and the Individual A Family Office into accounts under

ISSA s control at Bank A, including the Hibiscus Capital and SR Trading accounts,

and at other financial institutions where the Individual A Family Office had accounts

and assets, without Individual A's knowledge or consent. ISSA then externally

transferred funds from these accounts into accounts in his name and in the names of

entities under his ownership and control at other financial institutions. By forging

Individual A's signature on those authorizations and making those transfers, ISSA

deceived multiple financial institutions, including Bank A, and caused them to

provide funds to which he knew he was not entitled.
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      ISSA concealed the above unauthorized transfers by creating mirror accounts

at other financial institutions using the same or similar account names as the
Hibiscus Capital and SR Trading accounts located at Bank A. By using the same

account names. as the Bank A accounts, ISSA intended to make it appear as if funds

were being transferred internally at Bank A, when in fact ISSA was transferring

funds belonging to the Individual A Family Office and Bank A to accounts at other

financial institutions under ISSA's ownership and control without Individual A or

Bank A's knowledge or consent.

      ISSA also made false representations to IndividualA and IndividualA's agents

regarding the status of the Individual A Family Office assets, Individual A's personal

financial status, and the amount of returns generated by ISSA's trading of IPOs

through the Hibiscus Capital and SR Trading entities;in addition, ISSA intentionally

created and provided to Individual A and his agents false and misleading account

statements regarding the status of the Individual A Office assets.

      Among the accounts of the Individual A Family Office from which ISSA

fraudulently transferred funds was a trust account in the name of Individual A's

mother that was used to pay her medical and other expenses while she was suffering

from an incapacitating illness. ISSA knew of Individual A's mother's condition and

the purpose of the trust account at the time he misappropriated funds from the

account.
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       Financial Institutions

       ISSA misappropriated funds from FDlC-insured financial institutions by

providing false information in loan applications and supporting documents,

including, but not limited to: false representations regarding ISSA's personal

financial status and the financial status of entities owned or controlled by ISSA;

forged. and fraudulent tax documents;forged. and fraudulent authorizations and other

documents purportedly signed by Individual A or on behalf of Individual A Family

Office entities; and forged and fraudulent pledges of collateral, in order to

fraudulently obtain loans and extensions of credit for his own and his business

entities' use and benefit.

      By submitting fraudulent loan applications and other fraudulent materials to

financial institutions, ISSA deceived financial institutions and fraudulently caused

them to provide him and entities under his ownership and control loan funds and

extensions of credit totaling tens of millions of dollars, knowing he was not authorized

to obtain those funds or extensions ofcredit.

      ISSA concealed his financial institution foaud by using funds and assets

fraudulently obtained from Individual A and the Individual A Family Office and from

other financial institutions to make down payments, to pledge as collateral, and to

cover interest payments and expenses related to the fraudulently obtained loans and

extensions of credit.



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          Individual Investors

          ISSA solicited individual investors by representing that he would trade their

investment funds, when in fact he intended to and did use the funds to benefit himself

and his business entities, and to conceal his ongoing fraud against Individual A and

the Individual A Family Offi.ce and against various financial institutions by
replenishing funds misappropriated from Individual A and the Individual A Family

Office accounts and making payments on fraudulently obtained loans and lines of

credit.

          ISSA also created and provided to investors and their families fraudulent

account statements and correspondence, which contained false information

concerning the clients' assets. ISSA falsely represented the status of investment

portfolios of investors, including their performance and rate of return. ISSA knew

that the investors' account statements were false and did not accurately represent

the state of investors' assets.

          In on or around April 29, 2016, ISSA fraudulently obtained $500,000 from
Individ.uat B following the death of her husband based on ISSA's false representations

that he would invest these funds on Individual B's behalf when, in fact, ISSA intended

to and did use these funds in furtherance of his ongoing scheme to defraud. At the

time he fraudulently obtained these funds from Individual B, ISSA knew that

Individual B was unusually vulnerable due to the recent loss of her husband.
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       As a result of the above-described scheme, ISSA caused a total intended and

actual loss in excess of $65,000,000.

       Use of Fraudulentl], Obtained Proceeds

       ISSA used the funds fraudulently diverted from Individual A, the Individual A

Family Office, and the financial institutions and individuals described herein to

facilitate the scheme, and for his own and his business entities' use and benefit.

ISSA's use of fraudulently obtained funds included but was not Iimited to the

following:

       Personal Expenses and Properfy; ISSA used tens of millions of dollars in

fraudulently obtained funds to cover personal expenses and to acquire real and

personal property for his own use and benefit and for the benefit of his business

entities and family. ISSA used proceeds of the scheme to purchase and secure

fraudulent loans relating to at least 25 residential properties in Illinois, Montana,

Michigan, and Cabo San Lucas, Mexico; two private aircraft; four motor yachts;

approximately 60 fi.rearms; and assorted watches, jewelry and memorabilia. ISSA

also used residential properties purchased with fraud proceeds as collateral to obtain

Ioans and lines of credit from financial institutions.

      Business Experuses: ISSA used over $15,000,000 in fraudulently obtained funds

to pay expenses related to Seriously Automotive Group, including expenses related

to the purchase and build-out of showroom space, the acquisition of luxury vehicles,

and the salaries of employees.
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       Poruzi-type Payments: ISSA used a portion of the fraudulently obtained funds

to make Ponzi-type payments to other individuals and financial institutions. For

example, ISSA used funds misappropriated from the Individual A Family Office to

make loan payments and service lines of credit that he had fraudulently obtained

from financial institutions, and used funds fraudulently obtained from the Individual

A Family Office and financial institutions to make payments to individual investors,

which he falsely represented as legitimate investment returns.

       Interstate Wire

       On or about April 19,20L7, for the purpose of executing the scheme to defraud,

ISSA knowingly caused to be transmitted in interstate commerce by means of wire

communication an interstate wire transfer of approximately $150,000 from the SR

Trading account at Bank A to an account under ISSA's control at another financial

institution.

                          Maximum Statutory Penalties
       7.      Defendant understands that the charge to which he is pleading guilty

carries the following statutory penalties:

               a.    A maximum sentence of 30 years' imprisonment. Pursuant to
Title 18, United States Code, Section 3561, defendant may not be sentenced to a term

of probation for this offense. This offense also carries a maximum fine of $1,000,000,

or twice the gross gain or gross loss resulting from that offense, whichever is greater.




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Defendant further understands that the judge also may impose a term of supervised

release of not more than five vears.

             b.     Defendant further understands that the Court must order

restitution to the victims of the offense in an amount determined by the Court.

             c.     In accord with Tit1e 18, United States Code, Section 3013,
defendant will be assessed $100 on the charge to which he has pled guilty, in addition

to any other penalty or restitution imposed.

                       SentencinE Guidelines Calculations

       8.    Defendant understands that in determining a sentence, the Court is

obligated to calculate the applicable Sentencing Guidelines range, and to consider

that range, possible departures under the Sentencing Guidelines, and other
sentencing factors under 18 U.S.C. $ 3553(a), which include: (i) the nature and

circumstances of the offense and the history and characteristics of the defendant; (ii)

the need for the sentence imposed to reflect the seriousness of the offense, promote

respect for the law, provide just punishment for the offense, afford adequate

deterrence to criminal conduct, protect the public from further crimes of the

defendant, and provide the defendant with needed educational or vocational training,

medical care, or other correctional treatment in the most effective manner; (iii) the

kinds of sentences available; (iv) the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar

conduct; and (v) the need to provide restitution to any victim of the offense.

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       9.        For purposes of calculating the Sentencing Guidelines, the parties agree

on the following points:

                 a.          Applicable Guidelines. The Sentencing Guidelines to be
considered in this case are those in effect at the time of sentencing. The following

statements regarding the calculation of the Sentencing Guidelines are based on the

Guidelines Manual currently in effect, namely the November 2018 Guidelines

Manual.

             b.              Offense Level Calculations.

                        i.        The base offense level is 7, pursuant to Guideline

S 281.1(a)(1).

                       ii.        The base offense level is increased by 24levels, pursuant

to Guideline $ 281.1@X1)WD, because the reasonably determinable loss amount as

of the date of entry of defendant's guilty plea is in excess of $65,000,000 but less than

$150,000,000. Defendant acknowledges that the reasonably determinable loss

amount may increase between the date of the entry of defendant's plea and the time

of sentencing.

                      111.        The offense level is increased by 2 levels, pursuant to

Guideline S 2B1.1(b)(2)(A), because the offense involved 10 or more victims.

                      lV.         The offense level is increased by 2 levels, pursuant to

Guideline S 281.1&)(10)(C), because the offense involved sophisticated means and



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defendant intentionally engaged in or caused the conduct constituting sophisticated

means.

                   v.      The offense level is increased by 2 levels, pursuant to

Guideline S 281.1O)(17XA), because the defendant derived more than $1,000,000 in

gross receipts from one or more financial institutions as a result of the offense.

                  vl.      The offense level is increased by 2 levels, pursuant to

Guideline S 3A1.1(b)(1) because the defendant knew or should have known that one

or more victims of the offense was a vulnerable victim.

                 vlI.      The offense level is increased by 2 }evels, pursuant to

Guideline S 381.3, because the offense involved the abuse of a position of trust.

                viii.      Defendant has clearly demonstrated a recognition and

affirmative acceptance of personal responsibility for his criminal conduct. If the

government does not receive additional evidence in conflict with thiS provision, and

if defendant continues to accept responsibility for his actions within the meaning of
Guideline $ 3E1.1(a), including by furnishing the United States Attorney's Office and

the Probation Offi.ce with a1l requested financial information relevant to his ability to

satisfu any fine or restitution that may be imposed in this case, a two-Ievel reduction

in the offense level is appropriate.

                  Ix.      In accord with Guideline $ 3E1.1@), defendant has timely
notified the government of his intention to enter a plea of guilty, thereby permitting

the government to avoid preparing for trial and permitting the Court to allocate its

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resources efficiently. Therefore, as provided by Guideline S 3E1.1@), if the Court

determines the offense level to be 16 or greater prior to determining that defendant

is entitled to a two-level reduction for acceptance of responsibility, the government

will move for an additional one-level reduction in the offense level.

              c.    Criminal History Category. With regard to determining
defendant's criminal history points and criminal history category, based on the facts

now known to the government, defendant's criminal history points equal zero and

defendant's criminal history category is I.

              d.    Anticipated Advisory Sentencing Guidelines Range.
Therefore, based on the facts now known to the government, the anticipated offense

level is 38, which, when combined with the anticipated criminal history category of I,

results in an anticipated advisory sentencing guidelines range of 235 to 293 months'

imprisonment, in addition to any supervised release, fine, and restitution the Court

may impose.

              e.    Defendant and his attorney and the government acknowledge

that the above guidelines calculations are preliminary in nature, and are non-binding

predictions upon which neither party is entitled to rely. Defendant understands that

further review of the facts or applicable legal principles may lead the government to

conclude that different or additional guidelines provisions apply in this case.

Defendant understands that the Probation Office will conduct its own investigation

and that the Court ultimately determines the facts and law relevant to sentencing,

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and that the Court's determinations govern the final guideline calculation.
Accordingly, the validity of this Agreement is not contingent upon the probation

officer's or the Court's concurrence with the above calculations, and defendant shall

not have a right to withdraw his plea on the basis of the Court's rejection of these

calculations.

       10. Both parties expressly acknowledge that this Agreement is not governed
by Fed. R. Crim. P. 11(c)(1)(B), and that errors in applying or interpreting any of the

sentencing guidelines may be corrected by either party prior to sentencing. The

parties may correct these errors either by stipulation or by a statement to the

Probation Office or the Court, setting forth the disagreement regarding the applicable

provisions of the guidelines. The validity of this Agreement will not be affected by

such corrections, and defendant shall not have a right to withdraw his plea, nor the

government the right to vacate this Agreement, on the basis of such corrections.




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                        Agreements Relating to Sentencing

       11. Each party is free to recommend whatever sentence it deems
appropriate.

       12. It is understood by the parties that the sentencing judge is neither a
party to nor bound by this Agreement and may impose a sentence up to the maximum

penalties as set forth above. Defendant further acknowledges that if the Court does

not accept the sentencing recommendation of the parties, defendant will have no right

to withdraw his guilty plea.

       13. Regarding restitution, the parties agree that the total amount of
restitution owed to the victims will be determined at the time of sentencing, minus

any credit for funds repaid prior to sentencing, and that pursuant to Title 18, United

States Code, Section 3663A, the Court must order defendant to make full restitution

in the amount outstanding at the time of sentencing.

       14. Restitution shall be due immediately, and paid pursuant to a schedule
to be set by the Court at sentencing. Defendant acknowledges that pursuant to Title

18, United States Code, Section 3664(k), he is required to notifu the Court and the

United States Attorney's Office of any material change in economic circumstances

that might affect his ability to pay restitution.

       15. Defendant agrees to pay the special assessment of $100 at the time of
sentencing with a cashier's check or money order payable to the Clerk of the U.S.

District Court.

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         16. Defendant agrees that the United States may enforce collection of any
fine or restitution imposed in this case pursuant to Title 18, United States Code,

Sections 3572,3613, and 3664(m), notwithstanding any payment schedule set by the

Court.

                                       Forfeiture
         L7. Defendant und.erstands that by pleading guilty, he will subject to
forfeiture to the United States all right, title, and interest that he has in any property

constituting or derived from proceeds obtained, directly or indirectly, as a result of

the offense.

         18.   Defendant admits that because the directly forfeitable property is no

longer available for forfeiture as described in Title 21, United States Code, Section

853(p)(1), the United States is entitled to seek forfeiture of any other property of

defendant, up to the value of the personal money judgment, as substitute assets

pursuant to Title 21, United States Code, Section 853(p)(2).

         19. Defendant understands that forfeiture shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty the

Court may impose upon defendant in addition to the forfeiture judgment. In this case,

however, the United States Attorney's Office will recommend to the Attorney General

that any net proceeds d"erived, from any forfeited assets be remitted or restored to

eligible victims of the offense pursuant to Title 18, United States Code, Section 981(e),

Tit1e 28, Code of Federal Regulations, Part 9, and other applicable law.

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       20.    Defendant agrees to waive all constitutional, statutory, and equitable

challenges in any manner, including but not limited to direct appeal or a motion

brought under Title 28, United States Code, Section 2255, to any forfeiture carried

out in accordance with this agreement on any grounds, including that the forfeiture

constitutes an excessive fine or punishment. The waiver in this paragraph does not

apply to a claim of involuntariness or ineffective assistance of counsel.

            Acknowleds.rnents and Waivers Regarding Plea of Guiltv

                               Nature of Agreernent

      2t.     This Agreement is entirely voluntary and represents the entire
agreement between the United States Attorney and defendant regarding defendant's

criminal liability in case 19 CR 97.

      22. This Agreement concerns criminal liability only. Except as expressly set
forth in this Agreement, nothing herein shall constitute a limitation, waiver, or

release by the United States or any of its agencies of any administrative or judicial

civil claim, demand, or cause of action it may have against defendant or any other

person or entity. The obligations of this Agreement are limited to the United States

Attorney's Office for the Northern District of Illinois and cannot bind any other

federal, state, or local prosecuting, administrative, or regulatory authorities, except

as expressly set forth in this Agreement.




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                                          Waiver of Rights

           23. Defendant understands that by pleading guilty he surrenders certain
    rights, including the following:

                 a.           Right to be charged by indictment. Defendant understands
    that he has a right to have the charge prosecuted by an indictment returned by a

    concurrence of twelve or more members of a grand jury consisting of not less than

    sixteen and not more than twenty-three members. By signing this Agreement,

    defendant knowingly waives his right to be prosecuted by indictment and to assert at

    trial or on appeal any defects or errors arising from the information, the information

    process, or the fact that he has been prosecuted by way of information.

                 b.       Trial rights. Defendant has the right to persist in a plea of not
    guilty to the charge against him, and if he does, he would have the right to a public

    and speedy trial.

                         i.        The trial could be either a jury trial or a trial by the judge

    sitting without a jury. However, in order that the trial be conducted by the judge

    sitting without a jury, defendant, the government, and the judge all must agree that

    the trial be conducted by the judge without a jury.

                        ii.        If the trial is a jury trial, the jury would be composed of
    twelve citizens from the district, selected at random. Defendant and his attorney

    would participate in choosing the jrry by requesting that the Court remove



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prospective jurors for cause where actual bias or other disqualification is shown, or

by removing prospective jurors without cause by exercising peremptory challenges.

                  tlt-      If the trial is a jury trial, the jury would be instructed that

defendant is presumed innocent, that the government has the burden of proving

defendant guilty beyond a reasonable doubt, and that the jury could not convict him

unless, after hearing all the evid.ence, it was persuad.ed of his guilt beyond a

reasonable doubt. The jury would have to agree unanimously before it could return a

verdict of guilty or not guilty.

                  IV.       If the trial is held by the judge without a jurlF, the judge
would find the facts and determine, afber hearing all the evidence, whether or not the

judge was persuaded that the government had estabtished defendant's guilt beyond

a reasonable doubt.

                   v.       At a trial, whether by a jury or a judge, the government
would be required to present its witnesses and other evidence against defendant.

Defendant would be able to confront those government witnesses and his attorney

would be able to cross-examine them.

                  vi.       At a trial, defendant could present witnesses and other
evidence in his own behalf. If the witnesses for defendant would not appear

voluntarily, he could require their attendance through the subpoena power of the

Court. A defendant is not required to present any evidence.



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                    vii.         At a trial, defendant would have a privilege against self-
incrimination so that he could decline to testifu, and no inference of guilt could be

drawri from his refusal to testify. If defendant desired to do so, he could testify in his

own behalf.

                   viii.         With respect to forfeiture, defendant understands that if

the case were tried before a jury, he would have a right to retain the jury to determine

whether the government had established the requisite nexus between defendant's

offense and any specific property alleged to be subject to forfeiture.

              c.           Appellate rights. Defendant further understands he is waiving

aII appellate issues that might have been available if he had exercised his right to

trial, and may only appeal the validity of this plea of guilty and the sentence.imposed.

Defendant understands that any appeal must be frIed within 14 calendar days of the

entry of the judgment of conviction.

       24. Defendant understands that by pleading guilty he is waiving all the
rights set forth in the prior paragraphs, with the exception of the appellate rights

specifically preserved above. Defendant's attorney has explained those rights to him,

and the consequences of his waiver of those rights.

        Presentence Investigation Report/Post-Sentence Supervision

       25. Defendant understands that the United States Attorney's Office in its
submission to the Probation Office as part of the Pre-sentence Report and at

sentencing shall fully apprise the District Court and the Probation Office of the

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nature, scope, and extent of defendant's conduct regarding the charge against him,

and related matters. The government will make known all matters in aggravation

and mitigation relevant to sentencing.

      26. Defendant agrees to truthfully and completely execute a Financial
Statement (with supporting documentation) prior to sentencing, to be provided to and

shared among the Court, the Probation Office, and the United States Attorney's

Office regarding all details of his financial circumstances, including his recent income

tax returns as specified. by the probation offi.cer. Defendant understands that
providing false or incomplete information, or refusing to provide this information,

may be used as a basis for denial of a reduction for acceptance of responsibility

pursuant to Guideline $ 3E1.1 and enhancement of his sentence for obstruction of

justice under Guideline $ 3C1.1, and may be prosecuted as a violation of Title 18,

United States Code, Section 1001 or as a contempt of the Court.

      27. For the purpose of monitoring defendant's compliance with his
obligations to pay a fine and restitution during any term of supervised release to

which defendant is sentenced, defendant further consents to the disclosure by the IRS

to the Probation Office and the United States Attorney's Office of defendant's
individual income tax returns (together with extensions, correspondence, and other

tax information) filed subsequent to defendant's sentencing, to and including the final

year of any period of supervised release to which defendant is sentenced. Defendant

also agrees that a certified copy of this Agreement shall be sufficient evidence of

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defendant's request to the IRS to disclose the returns and return information, as

provided for in Title 26, United States Code, Section 6103(b).

                                     Other Terms

       28. Defendant agrees to cooperate with the United States Attorney's Office
in collecting any unpaid fine and restitution for which defendant is liable, including

providing financial statements and supporting record.s as requested by the United

States Attorney's Office.

     . 29. Defendant understands that pursuant to Title 12, United States Code,

Sections 1785(d) and 1829, his conviction in this case wiII prohibit him from directly

or indirectly participating in the affairs of any financial institution insured by the

National Credit Union Share Insurance Fund or the Federal Deposit Insurance

Corporation, except with the prior written consent of the National Credit Union

Administration Board or the FDIC and, d.uring the ten years following his conviction,

the additional approval of this Court. Defendant further understands that if he

knowingly violates this prohibition, he may be punished by imprisonment for up to

five years, and a fine of up to $1,000,000 for each day the prohibition is violated.

      30. Defendant understands that, if convicted, a defendant who is not a
United States citizenmay be removed from the United States, denied citizenship, and

denied admission to the United States in the future.




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                                     Conclusion

      31. Defendant understands that this Agreement will be filed with the Court,
wiII become a matter of public record, and may be disclosed to any person.

      32. Defendant understands that his compliance with each part of this
Agreement extends throughout the period of his sentence, and failure to abide by any

term of the Agreement is a violation of the Agreement. Defendant further
understands that in the event he violates this Agreement, the government, at its

option, may move to vacate the Agreement, rendering it null and void, and thereafber

prosecute d.efendant not subject to any of the limits set forth in this Agreement, or

may move to resentence defendant or require defendant's specific performance of this

Agreement. Defendant understands and agrees that in the event that the Court

permits defendant to withdraw from this Agreement, or defendant breaches any of

its terms and the government elects to void the Agreement and prosecute defendant,

any prosecutions that are not time-barred by the applicable statute of limitations on

the date of the signing of this Agreement may be commenced against defendant in

accordance with this paragraph, notwithstanding the expiration of the statute of

limitations between the signing of this Agreement and the commencement of such

prosecutions.

      33.       Should the judge refuse to accept defendant's plea of guilty, this

Agreement shall become null and void and neither party will be bound to it.



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      34. Defendant and his attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, other than those set forth

in this Agreement, to cause defendant to plead guilty.

      35. Defendant acknowledges that he has read this Agreement and carefully
reviewed each provision with his attorney. Defendant further acknowledges that he

understands and voluntarily accepts each and every term and condition of this

Agreement.



AGREED THIS DATE:          l- /o' )-0

  HN                                           SULTAN ISSA
United States Attorney                         Defendant


KATHRYN E. MALIZIA                              ANIEL J. OOLLINS
Assistant U.S. Attorney                        Attorney for Defendant




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